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  8
      Attorneys for William M. Aisenberg and Jeffrey Cordes
  9

 10                                UNITED STATES BANKRUPTCY COURT
 11                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12                                  SAN FERNANDO VALLEY DIVISION
 13
                                                                    )     Lead Case No. 1:17-bk-12408-MB
 14 In re:                                                          )
    ICPW Liquidation Corporation, a California                      )     Jointly administered with: 1:17-bk-
 15 corporation,1
                                                                    )     12409-MB
 16              Debtor and Debtor in Possession.                   )
                                                                    )     Chapter 11 Cases
 17                                                                 )
                                                                    )   AMENDED JOINT STIPULATION
 18 In re:                                                          )   RELATING TO DIRECTORS &
                                                                    )   OFFICERS INSURANCE POLICIES
 19 ICPW Liquidation Corporation, a Nevada
                                                                    )
    corporation,2                                                   )
 20
           Debtor and Debtor in Possession.                         )
 21                                                                 )
                                                                    )
 22                                                                 )
          X      Affects both Debtors                               )
 23
                                                                    )
                 Affects ICPW Liquidation Corporation, a            )
 24              California corporation only                        )
 25                                                                 )
                 Affects ICPW Liquidation Corporation, a            )
 26              Nevada corporation only                            )
 27                                                                 )
      1
 28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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  1           Jeffrey Cordes and William M. Aisenberg (collectively, “Insureds”), hereby enter into

  2 this amended stipulation (the “Amended Stipulation”) with ICPW Liquidation Corporation, a

  3 California corporation, formerly known as Ironclad Performance Wear Corporation, a

  4 California corporation and ICPW Liquidation Corporation, a Nevada corporation, formerly

  5 known as Ironclad Performance Wear Corporation, a Nevada corporation (collectively, the

  6 “Debtors”) and the Official Committee of Equity Holders (“OCEH”), by and through their

  7 respective undersigned counsel of record attorney, in reference to the following facts:

  8                                                   RECITALS
  9           1.       On September 8, 2017 (the “Petition Date”), the Debtors each filed a voluntary

 10 petition for relief under chapter 11 of the title 11 of the United States Code, et seq. (the

 11 “Bankruptcy Code”). [Docket No. 1].

 12           2.       On September 12, 2017, the Court entered an order granting the Debtor’s

 13 motion to approve the joint administration of the two chapter 11 cases. [Docket No. 25].

 14           3.       On October 3, 2017, Mr. Cordes timely filed his proof of claim with the

 15 Bankruptcy Court as Claim No. 8-1, asserting a claim in the amount of $166,906.75, which

 16 includes $12,850.00 as a priority claim (the “Cordes Claim”).

 17           4.       On October 3, 2017, Mr. Aisenberg timely filed his proof of claim with the

 18 Bankruptcy Court as Claim No. 7-1, asserting a claim in the amount of $129,406.75, which
 19 includes $12,850.00 as a priority claim (the “Aisenberg Claim”).

 20           5.       As of the Petition Date, the Debtors held a professional liability insurance

 21 policy through QBE Insurance Corporation, policy number QPL019727, covering the period

 22 of May 11, 2017 through June 1, 2018 (the “D&O Policy”) [Docket Nos. 133-1, 133-2].

 23           6.       The D&O Policy provides3 the following coverage to the insureds: (i) the

 24 Insurer shall pay, on behalf of an Insured, Loss on account of a Claim first made during the

 25 Policy Period to the extent that such Loss has not been paid or indemnified by any Company;

 26 (ii) the Insurer shall pay, on behalf of a Company, Loss on account of a Claim first made
 27
      3
 28     To the extent there is any discrepancy between the terms of the D&O Policy and the terms of any portion of
      this Amended Stipulation, the terms of the D&O Policy shall govern.

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  1 during the Policy Period to the extent the Company pays or indemnifies an Insured Person for

  2 such Loss; and (iii) the Insurer shall pay, on behalf of a Company, Loss on account of a

  3 Securities Claim, and Defense Costs on account of a Securityholder Derivative Demand

  4 Investigation, first made during the Policy Period.4

  5              7.       Section XVIII of the D&O Policy provides: “(A) Bankruptcy or insolvency of

  6 any Insured shall not relieve the Insurer of its obligations nor deprive the Insurer of its rights

  7 or defenses under this Policy. (B) The coverage provided by this Policy is intended first and

  8 foremost for the benefit and protection of Insured Persons. In the event a liquidation or

  9 reorganization proceeding is commenced by or against a Company pursuant to United States

 10 bankruptcy law: (1) the Company and the Insureds hereby agree not to oppose or object to

 11 any efforts by the Insurer, the Company or an Insured to obtain relief from any stay or

 12 injunction issued in such proceeding; and (2) the Insurer shall first pay Loss on account of a

 13 Claim for a Wrongful Act occurring prior to the date such liquidation or reorganization

 14 proceeding commences, and then pay Loss in connection with a Claim for a Wrongful Act

 15 occurring after the date such liquidation or reorganization proceeding commences.”

 16              8.       The term “Claim” under the D&O Policy shall include, but is not limited to, (i)

 17 an investigation, evidenced by any written document, including a subpoena, target letter or

 18 search warrant, against an Insured Person for a Wrongful Act; (ii) a civil or criminal
 19 proceeding, evidenced by the service of a complaint or similar pleading in a civil proceeding

 20              9.       Mr. Cordes and Mr. Aisenberg are “insured” persons under the D&O Policy.

 21 [Docket Nos. 133-1, 133-2]. The D&O Policy provides coverage for insured persons with

 22 respect to legal expenses incurred as a result of any investigation conducted by the Debtors or

 23 any governmental agency of the insured, and any breach of duty claims pursued by the

 24 Debtors or shareholders against the insured. [Docket Nos. 133-1, 133-2].

 25              10.      On October 20, 2017, Movants file the Motion for Relief. [Docket Nos. 132-

 26 136]. The Motion for Relief sought the following relief: (i) to proceed with the AAA
 27

 28   4
          Capitalized terms in paragraphs 6-8 only shall have the meaning ascribed to such terms as in the D&O Policy.

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  1 Proceeding5 and (ii) to pursue insurance coverage proceeds to which [Movants] may be, or

  2 may become, entitled. (Motion for Relief at 7:21-22).

  3           11.      On October 24, 2017, Movants were served with subpoenas to produce

  4 documents by the United States Securities and Exchange Commission (“SEC”) in connection

  5 with an investigation by the SEC of Ironclad Performance Wear Corp., FW-04203.

  6           12.      A hearing (the “November 15th Hearing”) on the Motion for Relief was held

  7 on November 15, 2017 at 1:30 p.m.

  8           13.      The Motion was bifurcated into two separate matters to address (i) issues

  9 related to certain D&O Policies, which was continued to December 12, 2017 at 1:30 p.m. and

 10 (ii) issues related to whether the arbitration proceeding should proceed outside the purview of

 11 the Bankruptcy Court, specifically with reference to the claims and/or defenses of the

 12 Debtors’ estates against Movants, which was held on February 27, 2018.

 13           14.      At the November 15th Hearing, the Court requested that the parties meet and

 14 confer and come up with an interim request in connection with the amount of reimbursement

 15 sought by Claimants.

 16           15.      As a result, Claimants, the Debtors, and the OCEH agreed on a certain amount

 17 to be released to Claimants in accordance with the D&O Policy on an interim basis, without

 18 prejudice to Claimants’ rights to seek further amounts under the D&O Policy (the “Joint
 19 Stipulation”) [Docket No. 300].

 20           16.      On December 11, 2017, the Court entered an Order Approving Joint

 21 Stipulation Relating To Directors & Officers Insurance Policies [Docket No. 331].

 22
              17.      On January 26, 2018, the OCEH filed a Complaint against Claimants (the
 23
      “Adversary Proceeding”) [Docket No. 421].
 24
              18.      Claimants, the Debtors, and the OCEH have agreed to amend the Joint
 25
      Stipulation.
 26
 27
      5
 28    Capitalized terms not otherwise defined herein shall have the meaning ascribed to such term as the Motion for
      Relief.

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  1 NOW THEREFORE, subject to the approval of the Bankruptcy Court, Claimants, the

  2 Debtors, and the OCEH hereby agree as follows:

  3
                                 AMENDED STIPULATION AND AGREEMENT
  4
                 Paragraph “A” of the Joint Stipulation is hereby amended as follows6:
  5

  6                       A.       D&O Policy Reimbursement. Claimants shall be permitted to

  7              use the proceeds of the D&O Policy to obtain reimbursement for the expenses

  8              they incurred or will incur on account of the Claims filed with the Insurer in

  9              the amount of $400,000, in the aggregate, on an interim basis, without

 10              prejudice to seek further amounts.              For purposes of this stipulation, and

 11              without prejudice to Claimants’ rights, Claims refer solely to the investigation,

 12              any proceedings initiated by the SEC, and the Adversary Proceeding.

 13              Claimants reserve their rights to expand their permitted use of proceeds and/or

 14              right to indemnification to other Claims by first, proposing a stipulation and

 15              proposed order to counsel for the OCEH and Debtors via email. If counsel for

 16              the OCEH or Debtors does not provide an agreement or comments to the

 17              proposed stipulation within four (4) business days after the initial request is

 18              made, Claimants may file a “Notice of Request to Seek D&O Reimbursement”

 19              (the “Notice of D&O Request”) with the Bankruptcy Court (to the extent the

 20              Bankruptcy Cases are still pending). Parties in interest will have five (5)

 21              business days to file a response to the Notice of D&O Request. If a response is

 22              not timely filed, Claimants may file a Notice of Non-Opposition to the Notice

 23              of D&O Request and have the Bankruptcy Court enter a further order,

 24              expanding the use of proceeds to other Claims. If a response is filed, the Court

 25              shall set a hearing on the Notice of D&O Request within fourteen (14)

 26              calendar days.

 27

 28   6
          All other terms and conditions of the Joint Stipulation are unamended and remain in full force and effect.

                                                                5
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  1 STIPULATED AND AGREED TO AS OF FEBRUARY 28, 2018

  2

  3   William M. Aisenberg and Jeffrey Cordes    ICPW Liquidation Corporation, et al.
  4                                              By their counsel of record
      By their counsel of record
  5
                                                 LEVENE, NEALE, BENDER, YOO & BRILL,
  6   GARDERE, WYNNE, SEWELL LLP                 L.L.P.

  7
      By:    /s/ Shiva Delrahim Beck             By:
  8          Todd A. Murray                             Ron Bender
             Shiva Delrahim Beck                        Monica Y. Kim
  9          Thomas C. Scannell                         Krikor J. Meshefejian

 10

 11
      Official Committee of Equity Holders
 12
      By their Special Litigation Counsel
 13

 14   SOLOMON & CRAMER LLP

 15
      By:    __________________
 16          Andrew Solomon

 17

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 19

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  1 STIPULATED AND AGREED TO AS OF FEBRUARY 28, 2018

  2

  3   William M. Aisenberg and Jeffrey Cordes    ICPW Liquidation Corporation, et al.

  4   By their counsel of record                 By their counsel of record
  5
                                                 LEVENE, NEALE, BENDER, YOO & BRILL,
  6   GARDERE, WYNNE, SEWELL LLP                 L.L.P.

  7

  8   By:    /s/ Shiva Delrahim Beck             By:
             Todd A. Murray                             Ron Bender
  9
             Shiva Delrahim Beck                        Monica Y. Kim
 10          Thomas C. Scannell                         Krikor J. Meshefejian
 11
      Official Committee of Equity Holders
 12   By their Special Litigation Counsel
 13

 14   SOLOMON & CRAMER LLP

 15
      By:    /s/ Andrew Solomon
 16          Andrew Solomon
 17

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  1                          PROOF OF SERVICE OF DOCUMENT

  2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
    business address is: 2021 McKinney Avenue, Suite 1600, Dallas, TX 75201.
  3
    A true and correct copy of the foregoing document described as AMENDED JOINT
  4
    STIPULATION RELATING TO DIRECTORS & OFFICERS INSURANCE
  5 POLICIES will be served or was served (a) on the judge in chambers in the form and
    manner required by LBR 5005-2(d); and (b) in the manner stated below:
  6
    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
  7 (NEF): Pursuant to controlling General Order(s) and LBR, the foregoing document will be
    served by the court via NEF and hyperlink to the document. On March 1, 2018, I checked the
  8 CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the

  9 following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the
    email address(es) stated below:
 10
                          Ron Bender: rb@lnbyb.com (counsel to Debtors)
 11                       Cathrine M Castaldi: ccastaldi@brownrudnick.com (counsel to Creditors’
                           Committee)
 12
                          Russell Clementson: russell.clementson@usdoj.gov (counsel to United
 13                        States Trustee)
                          Aaron S Craig: acraig@kslaw.com, lperry@kslaw.com (Big Time Products,
 14                        LLC)

 15                       Matthew A Gold: courts@argopartners.net (counsel to Argo Partners)
                          Monica Y Kim: myk@lnbrb.com , myk@ecf.inforuptcy.com (counsel to
 16                        Debtors)

 17                       Jeffrey A. Krieger: jkrieger@ggfirm.com, kwoodson@greenbergglusker.com;
                           calendar@greenbergglusker.com, jking@greenbergglusker.com (counsel to
 18                        Brighton-Best International)
                          Samuel R. Maizel: Samuel.maizel@dentons.com,
 19                        Alicia.aguilar@dentons.com, docket.general.lit.LOS@dentons.com,
                           Tania.moyron@dentons.com (counsel to Equity Security Holders’ Committee)
 20
                          Krikor J Meshefejian: kjm@lnbrb.com (counsel to Debtors)
 21                       Tania M Moyron: tania.moyron@dentons.com, chris.omeara@dentons.com
                           (counsel to Equity Security Holders’ Committee)
 22
                          S Margaux Ross margaux.ross@usdoj.gov (counsel to United States
                           Trustee)
 23
                          Susan K. Seflin sseflin@brutzkusgubner.com (counsel to Financial Advisor
 24                        Province)
                          John M. Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 25
                           (Creditor Texas Comptroller of Public Accountants)
 26                       United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov (United States
                           Trustee)
 27                       Sharon Z. Weiss: sharon.weiss@bryancave.com,
                           raul.morales@bryancave.com (Radians Wareham Holdings, Inc.)
 28

                                                    7
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             1 2. SERVED BY UNITED STATES MAIL:
               On (date) March 1, 2018, I served the following persons and/or entities at the last known
             2 addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy
               thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
             3 addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
               will be completed no later than 24 hours after the document is filed.
             4
                             Debtor                                   Debtor
             5               ICPW Liquidation Corporation,            ICPW Liquidation Corporation,
                             a CA corporation                         a Nevada corporation
             6
                             15260 Ventura Blvd., 20th Floor          15260 Ventura Blvd., 20th Floor
             7               Sherman Oaks, CA 91403                   Sherman Oaks, CA 91403

             8
                   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
             9     TRANSMISSION OR EMAIL (state method for each person or entity served):
                   Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 1, 2018, I served the
           10      following persons and/or entities by personal delivery, overnight mail service, or (for
           11      those who consented in writing to such service method), by facsimile transmission
                   and/or email as follows. Listing the judge here constitutes a declaration that personal
           12      delivery on, or overnight mail to, the judge will be completed no later than 24 hours
                   after the document is filed.
           13
                   Judge’s Copy – VIA OVERNIGHT
           14
                   Hon. Martin R. Barash
           15
                   United States Bankruptcy Court
           16      21041 Burbank Boulevard, Suite 342
                   Woodland Hills, CA 91367
           17
                   I declare under penalty of perjury under the laws of the United States that the foregoing is
           18      true and correct.
           19 Date: March 1, 2018                             By: /s/ Shiva Delrahim Beck
           20                                                         Shiva Delrahim Beck

           21

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